UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN

 

MICHAEL A. KOWALCZUK,
Plaintiff,
Vv, Case No. 2:19-cv-1230

SERGEANT ERIC GIESE and
VILLAGE OF MOUNT PLEASANT,

Defendants.

 

DECLARATION OF ERIC GIESE IN SUPPORT
OF MOTION FOR SUMMARY JUDGMENT

 

I, Eric Giese, declare pursuant to 28 U.S.C. § 1746, as follows:

l. I am employed by the Village of Mt. Pleasant as a Sergeant and have been a law
enforcement officer for 13 years.

2. Through my training and experience as a law enforcement officer, I have learned
that intoxicated drivers often try to make it home before stopping. Once home, intoxicated drivers
try to flee and run into their homes before being apprehended.

3% In my training in the use of a Taser, I learned that the back is the optimal location
for where Taser leads should strike a suspect. This location minimizes the risk of unintended injury
to the suspect.

4. There were several reasons why I chose to use a Taser to bring Michael Kowalezuk
under control and keep him from fleeing the scene. Among those reasons is the fact that just before

I deployed the Taser I was physically assaulted by Michael Kowalczuk. Additionally, at that time

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I felt physically threatened by an adult male relative of Kowalezuk who had started walking around
Kowalczuk’s car in my direction with clenched fists.
VERIFICATION
I declare under penalty of perjury that the foregoing is true and correct.

yi
Dated May 28.2020.

SA \ _ &St

Eric Giese

 

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